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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



 ROTHSCHILD BROADCAST DISTRIBUTION                          CASE NO. 6:15-CV-227-RWS-JDL
 SYSTEMS, LLC,

                Plaintiff,
                                                            JURY TRIAL DEMANDED
        v.

 DISCOVERY COMMUNICATIONS, INC.,

                Defendant.



              STIPULATION OF DISMISSAL OF DEFENDANT DISCOVERY
              COMMUNICATIONS, INC. , PURSUANT TO FED. R. CIV. P. 41


        Pursuant to Fed. R. Civ. P. 41(a), Plaintiff Rothschild Broadcast Distribution Systems,

 LLC, and Defendant Discovery Communications, Inc., hereby stipulate to dismiss with prejudice

 all claims against Defendant Discovery Communications, Inc., in the above captioned action.

 Each party is to bear its own attorneys’ fees and costs.

        A proposed order is attached.
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 DATED: August 27, 2015                Respectfully Submitted,


                                       By:/s/Charles Ainsworth

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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served this 27th day of August, 2015, with a copy of this
 document via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of
 record will be served by, electronic mail, facsimile transmission and/or first class mail on this
 same date.

                                              /s/ Charles Ainsworth
                                              Charles Ainsworth




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